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John Monaco

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


RICHARD M. ZELMA,
                                               Case No. 2:18-cv-14655 KM/ESK
                   Plaintiff,
V.

AUDINA HEARING INSTRUMENTS, INC.,
HEAR BETTER FOR LIFE, JOHN
MONACO, SARAH R. LOVE TRAURING,                CONSENT ORDER EXTENDING TIME
ISROEL MAX aka Isreal Sruly, MAXSIP            FOR DEFENDANT JOHN MONACO TO
TELECOM CORP., JOHN DOES,                      RESPOND TO CROSSCLAIM OF
                                               DEFENDANTS YISROEL MAX AND
                  Defendants.                  MAXSIP COMMUNICATIONS, CORP.
                                               PURSUANT TO L.CIV.R. 6.l(b)
AUDINA HEARING INSTRUMENTS, INC.,

                  Cross-Claimant.

HEAR BETTER FOR LIFE,

                  Cross-Defendant

       WHEREAS, this matter having come before the Court by way of an application by

Defendant John Monaco ("Monaco"), by and through his counsel, Cohn Lifland Pearlman

Herrmann & Knopf LLP, with the consent of Defendants/Cross-Claimants Yisroel Max and

Maxsip Communications Corp's counsel, Shapiro, Croland, Reiser, Apfel & Di Iorio, LLP,

pursuant to L.Civ.R. 6.1(b), for an extension of time within which Monaco must answer, move
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or otherwise respond to the Cross-Claims of defendants, Yisroel Max and Maxsip

Communications Corp.,

       It is ORDERED as follows:

       1.      Defendant Monaco's time to respond to the Cross-Claims of Yisroel Max and

              Maxsip Communications Corp. shall be extended to Wednesday, November 25,

               2020.

We hereby consent to the form, substance, and entry of the within Order.

COHN LIFLAND PEARLMAN                                      SHAPIRO, CROLAND, REISER,
HERRMANN & KNOPF LLP                                       APFEL & DI IORIO, LLP
 Attorneys for defendant                                    Attorneys for Defendants/Cross
 John Monaco                                                Claimants, Yisroel Max and
                                                            Maxsip Communications Corp.


By: ls/Alex A. Pisarevsky                                  By: ls/David 0. Marcus
        Alex A. Pisarevsky, Esq.                                  David 0. Marcus, Esq.
        A Member of the Firm

Dated: December 1, 2020


                                                           _________________________
                                                           Edward S. Kiel
                                                           United States Magistrate Judge




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